                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                        ENTERED
                      IN THE UNITED STATES DISTRICT COURT                            August 18, 2020
                      FOR THE SOUTHERN DISTRICT OF TEXAS                            David J. Bradley, Clerk
                               HOUSTON DIVISION

RONALD JEFFERY PRIBLE,                         §
    Petitioner,                                §
                                               §
v.                                             §                         H-09-CV-1896
                                               §
LORIE DAVIS, Director,                         §
Texas Department of Criminal Justice,          §
Correctional Institutions Division,            §
       Respondent.                             §

                                    FINAL JUDGMENT

       For the reasons set forth in the Memorandum Opinion and Order of May 20, 2020, Ronald

Jeffery Prible’s Petition for Writ of Habeas Corpus is CONDITIONALLY GRANTED. A writ

of habeas corpus shall issue unless, within 180 days, the State of Texas either begins new

proceedings against Prible or releases him from custody. The 180-day time period shall not start

until the conclusion of any appeal from the Memorandum Opinion and Order, either by exhaustion

of appellate remedies or the expiration of the time period in which to file such appellate

proceedings. The Court DENIES certification of any issue for appellate consideration.

       This is a final judgment.

       SIGNED at Houston, Texas, on this 17th day of August, 2020.




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                                                   KEITH P. ELLISON
                                                   UNITED STATES DISTRICT JUDGE




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